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                                                       U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       December 14, 2020

BY ECF
The Honorable J. Paul Oetken
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Lev Parnas, et al., S1 19 Cr. 725 (JPO)

Dear Judge Oetken:

        At the December 1, 2020 conference, the Court adjourned the March 1, 2021 trial date sine
die, and directed the parties to confer regarding a proposed trial date, which the parties have now
done. The defense requests a trial date in October 2021. The Government believes that it would
be feasible and appropriate to schedule a trial after July 1, 2021, which would be over six months
since the first rollout of a vaccine and would permit the trial to be scheduled in the third quarter of
2021, i.e., between July and September 2021.

        The Government further requests that the Court exclude time pursuant to the Speedy Trial
Act, 18 U.S.C. § 3161(h)(7)(A), between March 1, 2021, and the new trial date, in order to allow
the defense to review discovery and prepare for trial.
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                                          Respectfully submitted,

                                          AUDREY STRAUSS
                                          Acting United States Attorney for the
                                          Southern District of New York


                                          By: /s
                                              Douglas Zolkind
                                              Rebekah Donaleski
                                              Nicolas Roos
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cc: All counsel of record (via ECF)
